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 8                                                            The Honorable THERESA L. FRICKE
 9                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
10                                    AT SEATTLE
11   MYRIAM ZAYAS,                                          NO. 2:20-cv-00650 TLF
12                            Plaintiff,                    DEFENDANT JULIE DECAMP’S
                                                            ANSWER AND AFFIRMATIVE
13         v.                                               DEFENSES TO PLAINTIFF’S
                                                            AMENDED COMPLAINT
14   DEPARTMENT OF CHILDREN YOUTH
     & FAMILIES; KELSEY OWENS; JULIE                        AND JURY DEMAND
15   DECAMP,
16                            Defendants.
17          Defendant, JULIE DECAMP (“Defendant”), by and through its attorneys, ROBERT W.

18   FERGUSON, Attorney General, and BRENDAN LENIHAN and PETER KAY, Assistant

19   Attorneys General, in answer to Plaintiff’s Second Amended Complaint (“Complaint”), filed

20   June 10, 2020 [dkt. 26], admit, deny, and allege as follows:

21                                           JURISDICTION

22      1. Paragraph 1 of the Complaint contain allegations or contentions of law, requiring no

23          response. To the extent a response is required, Defendant denies the same.

24      2. The first sentence of Paragraph 2 of the Complaint contain allegations or contentions of law,

25          requiring no response. To the extent a response is required, Defendant denies the same.

26          Defendant admits that the Department of Children, Youth and Families (“DCYF”) has

       DEFENDANT JULIE DECAMPS’                         1               ATTORNEY GENERAL OF WASHINGTON
                                                                                    Torts Division
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         office locations in King County, Washington. Defendant lacks knowledge or information
 2
         sufficient to form a belief as to the truth of the remaining allegations in paragraph 2, and
 3
         therefore, denies the same.
 4
      3. Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
 5
         allegations paragraph 3, and therefore, denies the same.
 6
                                              PARTIES
 7
      1. Defendant admits that Plaintiff has a child with the initials ACZ who is currently in an
 8
         ongoing dependency case in King County Superior Court, Juvenile Division. Plaintiff
 9
         relinquished her parental rights to another child with the initials CZ, and that child was
10
         voluntarily adopted at birth. Defendant lacks knowledge or information sufficient to form
11
         a belief as to the truth of the remaining allegations in the paragraph 1, and therefore, denies
12
         the same.
13
      2. Defendant admits that Child Protective Services is a state agency within DCYF.
14
      3. Defendant denies that Defendant is a Child Protective Services Supervisor and denies that
15
         she is a resident of King County. Defendant is a Child and Family Welfare Supervisor. The
16
         last sentence of paragraph 4 of the Complaint contain allegations or contentions of law,
17
         requiring no response. To the extent a response is required, Defendant denies the same.
18
      4. Defendant admits that Kelsey Owens is employed with Defendant as a social services
19
         specialist. Defendant lacks knowledge or information sufficient to form a belief as to the
20
         truth of the remaining allegations in paragraph 4, and therefore, denies the same.
21
                                          JURY DEMAND
22
      5. Paragraph 5 of the Complaint contain allegations or contentions of law, requiring no
23
         response. To the extent a response is required, Defendant denies the same.
24
      6. Paragraph 6 of the Complaint contain allegations or contentions of law, requiring no
25
         response. To the extent a response is required, Defendant denies the same.
26

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 2
                                               FACTS
 3
      1. Defendant admits that Plaintiff lives in Kent, Washington. Defendant admits that Plaintiff
 4
         has a child with the initials ACZ who is currently in an ongoing dependency case in King
 5
         County Superior Court, Juvenile Division. Defendant lacks knowledge or information
 6
         sufficient to form a belief as to the truth of the remaining allegations in paragraph 1, and
 7
         therefore, denies the same.
 8
      2. Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
 9
         allegations in paragraph 2, and therefore, denies the same.
10
      3. Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
11
         allegations in paragraph 3, and therefore, denies the same.
12
      4. Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
13
         allegations in paragraph 4, and therefore, denies the same.
14
      5. Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
15
         allegations in paragraph 5, and therefore, denies the same. Defendant had no involvement
16
         with Plaintiff or her dependency case until the case transfer staffing on March 25, 2020.
17
      6. Defendant denies taking advantage of Plaintiff or treating her unfairly. Defendant lacks
18
         knowledge or information sufficient to form a belief as to the truth of the remaining
19
         allegations in paragraph 6, and therefore, denies the same.
20
      7. Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
21
         allegations in paragraph 7, and therefore, denies the same.
22
      8. Defendant admits that Plaintiff tested positive for amphetamines and methamphetamines
23
         on March 5, 2020. Defendant lacks knowledge or information sufficient to form a belief as
24
         to the truth of the remaining allegations in paragraph 8, and therefore, denies the same.
25

26

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      9. Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
 2
         allegations in paragraph 9, and therefore, denies the same.
 3
      10. Defendant denies any allegations in Paragraph 10 that are directed at her. Defendant had no
 4
         involvement with Plaintiff or her dependency case until the case transfer staffing on March
 5
         25, 2020. Paragraph 10 of the Complaint also contains allegations or contentions of law,
 6
         requiring no response. To the extent a response is required, Defendant denies the same.
 7
         Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
 8
         remaining allegations in paragraph 10, and therefore, denies the same.
 9
      11. Defendant admits that Plaintiff tested positive for amphetamines and methamphetamines
10
         on March 5, 2020. Defendant denies the remaining allegations in paragraph 11 of Plaintiff’s
11
         Complaint.
12
             a. Defendant denies the allegations in paragraph 11a of Plaintiff’s Complaint.
13
             b. Defendant denies the allegations in paragraph 11b of Plaintiff’s Complaint.
14
             c. Defendant lacks knowledge or information sufficient to form a belief as to the truth
15
                 of the allegations in paragraph 11c, and therefore, denies the same.
16
             d. Defendant lacks knowledge or information sufficient to form a belief as to the truth
17
                 of the allegations in paragraph 11d, and therefore, denies the same.
18
      12. The first two sentences of this paragraph are allegations or contentions of law, requiring no
19
         response. To the extent a response is required, Defendant denies the same. Defendant lacks
20
         knowledge or information sufficient to form a belief as to the truth of the allegations
21
         regarding Plaintiff’s doctor, and therefore denies the same. Defendant denies the remaining
22
         allegations in paragraph 12 of Plaintiff’s Complaint.
23
      13. Defendant denies the allegations in the last sentence of paragraph 13 of the Complaint.
24
         Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
25
         remaining allegations in paragraph 13, and therefore, denies the same.
26

     DEFENDANT JULIE DECAMPS’                         4                ATTORNEY GENERAL OF WASHINGTON
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            14. Defendant denies the allegations in paragraph 14 of Plaintiff’s Complaint that are directed
 2
               toward Defendant. Defendant had no involvement with Plaintiff or her dependency case
 3
               until the case transfer staffing on March 25, 2020. Defendant is also aware that DCYF paid
 4
               for a phone for Plaintiff to use for virtual visits with ACZ. Defendant lacks knowledge or
 5
               information sufficient to form a belief as to the truth of the remaining allegations in
 6
               paragraph 14, and therefore, denies the same.
 7
            15. Defendant denies the allegations in paragraph 15 of Plaintiff’s Complaint.
 8
            16. Defendant denies the allegations in paragraph 16 of Plaintiff’s Complaint.
 9
            17. Defendant denies any allegations in paragraph 17 of Plaintiff’s Complaint that are directed
10
               at Defendant. Defendant lacks knowledge or information sufficient to form a belief as to the
11
               truth of the remaining allegations in paragraph 17, and therefore, denies the same.
12
            18. Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
13
               allegations in paragraph 18, and therefore, denies the same.
14
            19. Defendant denies the allegations in paragraph 17 of Plaintiff’s Complaint that are directed
15
               at Defendant. Defendant admits that ACZ was placed with licensed foster parents.
16
               Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
17
               remaining allegations in paragraph 19, and therefore, denies the same.
18
            20. Defendant denies the allegations in paragraph 20 of Plaintiff’s Complaint that are directed
19
               at Defendant. Paragraph 20 of the Complaint also contains allegations or contentions of law,
20
               requiring no response. To the extent a response is required, Defendant denies the same.
21
               Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
22
               remaining allegations in paragraph 20, and therefore, denies the same.
23
     ///
24
     ///
25
     ///
26

           DEFENDANT JULIE DECAMPS’                        5                  ATTORNEY GENERAL OF WASHINGTON
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 1
                                               COUNTS
 2
      a) Defendant denies the allegations against Defendant in Paragraph a) Count 1.
 3
      b) The allegations in Paragraph b) Count 2 are not directed at Defendant. To an extent an
 4
         answer is required, Defendant denies the same.
 5
      c) Defendant denies the allegations against Defendant in Paragraph c) Count 3.
 6
      d) The allegations in Paragraph b) Count 2 do not appear to be directed at Defendant. To an
 7
         extent an answer is required, Defendant denies the same.
 8
      e) Defendant denies the allegations against Defendant in Paragraph e) Count 5 [erroneously
 9
         labeled “Count 6”].
10
                                               INJURY
11
      21. Defendant denies the allegations in paragraph 21 of Plaintiff’s Complaint.
12
      22. Defendant denies the allegations in paragraph 22 of Plaintiff’s Complaint.
13
      23. Defendant denies the allegations in paragraph 23 of Plaintiff’s Complaint.
14
      24. Defendant denies the allegations in paragraph 24 of Plaintiff’s Complaint.
15
      25. Defendant denies the allegations in paragraph 25 of Plaintiff’s Complaint.
16
      26. Defendant denies the allegations in paragraph 26 of Plaintiff’s Complaint.
17
      27. Defendant denies the allegations in paragraph 27 of Plaintiff’s Complaint.
18
                                               RELIEF
19
      1. Defendant denies that Plaintiff is entitled to any judgment or to the relief she seeks within
20
         the Complaint.
21
      2. Defendant denies that Plaintiff is entitled to any judgment or to the relief she seeks within
22
         the Complaint.
23
      3. Defendant denies that Plaintiff is entitled to any judgment or to the relief she seeks within
24
         the Complaint.
25

26

     DEFENDANT JULIE DECAMPS’                         6                ATTORNEY GENERAL OF WASHINGTON
                                                                                   Torts Division
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 1
         4. Defendant denies that Plaintiff is entitled to any judgment or to the relief she seeks within
 2
             the Complaint.
 3
         5. Defendant denies that Plaintiff is entitled to any judgment or to the relief she seeks within
 4
             the Complaint.
 5
         6. Defendant denies that Plaintiff is entitled to any judgment or to the relief she seeks within
 6
             the Complaint.
 7
         7. Defendant denies that Plaintiff is entitled to any judgment or to the relief she seeks within
 8
             the Complaint.
 9
                                              EXPRESS DENIAL
10
             Defendant denies each and every allegation in the Complaint that is not expressly
11
     admitted herein.
12
                                         AFFIRMATIVE DEFENSES
13
             Having fully answered Plaintiff’s Complaint, Defendant asserts the following affirmative
14
     defenses:
15
             1.      That Defendant State of Washington, its agencies and agents, including the
16
     Department of Children Youth and Families, are not subject to civil suit for damages under the
17
     Eleventh Amendment of the Constitution of the United States.
18
             2.      That the Defendant is immune from suit for the matters charged in Plaintiff’s
19
     Complaint.
20
             3.      A state official acting in his or her official capacity is not a “person” under 42
21
     U.S.C. § 1983 and cannot be held liable solely on the basis of supervisory responsibility or
22
     position.
23
             4.      That the Plaintiff has failed to state a claim upon which relief may be granted.
24
             5.      That Plaintiff’s action against this Defendant is barred by the doctrine of res judicata
25
     and/or collateral estoppel.
26

       DEFENDANT JULIE DECAMPS’                            7                ATTORNEY GENERAL OF WASHINGTON
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             6.      That Plaintiff is party to an ongoing action in State court with respect the issues
 2
     raised in this Complaint. Accordingly, this action should be dismissed pursuant to the Younger
 3
     abstention doctrine.
 4
             7.      That Defendant at all times acted in good faith in the performance of its duties and
 5
     is therefore immune from suit for the matters charged in Plaintiff’s complaint.
 6
             8.      That the claims against the Defendant are barred by the doctrine(s) of absolute
 7
     (quasi-judicial and/or quasi-prosecutorial) immunity.
 8
             9.      That the claims alleged under 42 U.S.C. § 1983 against the state employees are
 9
     barred by the doctrine of qualified immunity.
10
             10.     That all actions of the Defendant, herein alleged as negligence, manifest a
11
     reasonable exercise of judgment and discretion by authorized public officials made in the exercise
12
     of governmental authority entrusted to them by law and are neither tortious nor actionable.
13
             11.     That if the Plaintiff suffered any damages, recovery therefor is barred by Plaintiff’s
14
     failure to mitigate said damages.
15
             12.     That one or more of the Plaintiff’s claims are barred by the statute of limitations.
16
             13.     That the summons and complaint were never properly served upon Defendant
17
     and/or that the process of service was insufficient.
18
                                 DEFENDANT’S RESERVATION OF RIGHTS
19
             Defendant reserves the right to amend its Answer to the Complaint to allege additional
20
     affirmative defenses, cross and/or counter-claims and third-party claims as may be warranted after
21
     additional investigation and that may become known during the course of discovery.
22
                                    DEFENDANT’S PRAYER FOR RELIEF
23
             Defendant denies that Plaintiff is entitled to any judgment or relief she seeks within the
24
     Complaint. Defendant prays that Plaintiff’s Complaint be dismissed with prejudice and that Plaintiff
25
     takes nothing and Defendant be allowed costs and reasonable attorney fees herein.
26

       DEFENDANT JULIE DECAMPS’                             8              ATTORNEY GENERAL OF WASHINGTON
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 1
                                DEFENDANT’S JURY DEMAND
 2
         In the event this case proceeds to trial, Defendant demands that this case be tried to a jury.
 3

 4
         DATED this 21st day of July, 2020.
 5
                                                 ROBERT W. FERGUSON
 6                                               Attorney General
 7
                                                 /s/ Brendan Lenihan
 8                                               BRENDAN LENIHAN, WSB NO. 56066
                                                 PETER KAY, WSB No. 24331
 9                                               Assistant Attorneys General
                                                 Attorneys for Defendants
10                                               PO Box 40126
                                                 Olympia, WA 98504-0126
11                                               Brendan.Lenihan@atg.wa.gov
                                                 Peter.Kay@atg.wa.gov
12                                               (360)586-6419
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     DEFENDANT JULIE DECAMPS’                         9               ATTORNEY GENERAL OF WASHINGTON
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 1                                  CERTIFICATE OF SERVICE
 2
            I hereby certify that on July 21st, 2020, I caused to be electronically filed the foregoing
 3
     document with the Clerk of the Court using the CM/ECF system, which will send notification
 4
     of such filing to the following:
 5
            Electronic Service to:
 6          MYRIAM ZAYAS
            Email: Amiya.angel@gmail.com
 7                 marandjazzmom@live.com
 8

 9
                                                   /s/ Brendan Lenihan
10
                                                   BRENDAN LENIHAN, WSB NO. 56066
11                                                 Assistant Attorney General

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       DEFENDANT JULIE DECAMPS’                         10               ATTORNEY GENERAL OF WASHINGTON
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